Case 5:15-cr-00018-RWS-CMC            Document 1074         Filed 10/03/17      Page 1 of 2 PageID #:
                                             4298


                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION




  UNITED STATES OF AMERICA                         §
                                                   §
  V.                                               §            CASE NO. 5:15CR18(8)
                                                   §
  STEPHANIE MARTINEZ                               §


                                  ORDER ADOPTING
                          THE REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE



          The above-styled matter was referred to the Honorable Caroline M. Craven, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

  Procedure. Judge Craven conducted a hearing on September 14, 2017 in the form and manner

  prescribed by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation

  (document # 1066 ). Judge Craven recommended that the Court accept Defendant’s guilty plea and

  conditionally approve the plea agreement. She further recommended that the Court finally adjudge

  Defendant as guilty of Count 1 of the Information which charges a violation of 21 U.S.C. §

  841(a)(1), possession with intent to distribute a mixture or substance containing a detectable amount

  of methamphetamine. The Court is of the opinion that the Report and Recommendation should be

  accepted. It is accordingly ORDERED that the Report and Recommendation of the United States

  Magistrate Judge (document #1066 ) is ADOPTED. It is further

          ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

  the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

  It is finally

          ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant
Case 5:15-cr-00018-RWS-CMC         Document 1074       Filed 10/03/17   Page 2 of 2 PageID #:
                                          4299

  GUILTY of Count 1 of the Information in the above-numbered cause and enters a JUDGMENT

  OF GUILTY against the Defendant as to Count 1 of the Information.


            So ORDERED and SIGNED this 3rd day of October, 2017.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE




                                               2
